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 6

 7                         UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                       ) Case No.: Cr.11-262-WBS
10   UNITED STATES OF AMERICA,         )
                                       )
11               Plaintiff,            ) APPLICATION AND [PROPOSED]
                                       ) ORDER TO CONTINUE SENTENCING TO
12       vs.                           ) FEBRUARY 10, 2014
                                       )
13   ERIK SOLISFOX,                    )
                                       ) Hon. William B. Shubb
14               Defendant.            )
                                       )
15

16
         This matter is before the Court on January 27, 2014 at 9:30
17

18   a.m., for sentencing.    Counsel for the defense is requesting a

19   continuance to February 10, 2014, at 9:30 a.m. to prepare for
20
     sentencing.   Government counsel, Jason Hitt, and United States
21
     Probation Officer Karen Lucero are not opposing this request.
22
         Good cause appearing,
23
         IT IS ORDERED that this matter is to be continued from
24

25   January 27th, 2014 at 9:30 a.m., to February 10, 2014 at 9:30

26   a.m. for Judgment and Sentencing.
27   Dated:    January 24, 2014
28




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